         CASE 0:21-cr-00040-SRN-BRT Doc. 99 Filed 06/27/22 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 21-40 (SRN/BRT)

 UNITED STATES OF AMERICA,

                       Plaintiff,

         v.                                NOTICE OF APPEARANCE

 CHARLES WILLIAM DEXTER, III,

                       Defendant.



        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Manda M. Sertich

Dated: June 27, 2022                           Respectfully submitted,

                                               ANDREW M. LUGER
                                               United States Attorney


                                               s/ Manda M. Sertich
                                         BY:   MANDA M. SERTICH
                                               Assistant U.S. Attorney
